                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:04cr271


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                 ORDER
                                         )
ILA LITTLE HOWARD                        )
________________________________________ )


       THIS MATTER is before the Court upon motion of the defendant pro se for a sentence

reduction based on alleged errors in her presentence report (PSR). (Doc. No. 446).

       The defendant complains that she received a one-level increase for using a minor that she

never knew was involved and a four-level increase for organizing the conspiracy which is not

supported by her back account balance at the time. The judgment imposing the defendant’s

sentence was entered on February 16, 2007. (Doc. No. 353). The Fourth Circuit dismissed her

appeal on April 7, 2008. (Doc. No. 424: Judgment). The defendant has not provided any basis in

law to reduce her sentence based on these claims.

       IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.

                                                Signed: January 21, 2009




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